In The Matter Of:
Fayetteville Public Library, et al v.

Crawford County, Arkansas, et al

Leta Jo Caplinger, Esq.
December 11, 2023
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Original File Leta Jo Caplinger, Esq..txt

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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS
FAYETTEVILLE DIVISION

FAYETTEVILLE PUBLIC LIBRARY, a political
subdivision in the City of Fayetteville,

State of Arkansas; EUREKA SPRINGS CARNEGIE
PUBLIC LIBRARY; CENTRAL ARKANSAS LIBRARY

SYSTEM; NATE COULTER; OLIVIA FARRELL;

JENNIE KIRBY, as parent and next friend of
HAYDEN KIRBY; LETA CAPLINGER; ADAM WEBB;
ARKANSAS LIBRARY ASSOCIATION; ADVOCATES FOR

ALL ARKANSAS LIBRARIES; PEARLS BOOKS, LLC,

d/b/a WORDSWORTH BOOKS; AMERICAN BOOKSELLERS
ASSOCIATION; ASSOCIATION OF AMERICAN PUBLISHERS,
INC.; COMIC BOOK LEGAL DEFENSE FUND; FREEDOM TO
READ FOUNDATION, PLAINTIFFS

vs. NO. 5:23-CV-05086-TLB

CRAWFORD COUNTY, ARKANSAS; CHRIS KEITH, in his
official capacity as Crawford County Judge;

TODD MURRAY; SONIA FONTICIELLA; DEVON HOLDER;

MATT DURRETT; JEFF PHILLIPS; WILL JONES; TERESA
HOWELL; BEN HALE; CONNIE MITCHELL; DAN TURNER;

JANA BRADFORD; FRANK SPAIN; TIM BLAIR; KYLE HUNTER;
DANIEL SHUE; JEFF ROGERS; DAVID ETHREDGE; TOM TATUM,
II; DREW SMITH; REBECCA REED MCCOY; MICHELLE C.
LAWRENCE; DEBRA BUSCHMAN; TONY ROGERS; NATHAN SMITH;
CAROL CREWS; KEVIN HOLMES; CHRIS WALTON; and CHUCK
GRAHAM, each and in his or her official capacity as a
prosecuting attorney for the State of Arkansas, DEFENDANTS

ORAL DEPOSITION
OF

LETA JO CAPLINGER, ESQ.

*e¥*e*ee% THE ABOVE-STYLED MATTER was reported by Michelle R.
Satterfield, CCR, LS Certificate No. 570, at the Wahlmeier
Law Firm, located at 1101 Walnut, Van Buren, Arkansas,

commencing on the 11th day of December 2023, at 9:08 a.m.
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TOPIC
APPEARANCES
STIPULATIONS
WITNESS SWORN: Leta

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Examination

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Jo Caplinger, Esq.
by Mr. McLelland
by Mr. Watson

by Ms. Brownstein
by Mr. Adams

by Ms. Parker

Further Examination by Mr. McLelland

Further Examination by Mr. Watson

REPORTER'S CERTIFICATE

EXHIBITS

NUMBER DESCRIPTION

Deft's 1 Copy of Complaint

Deft's 2 Copy of Senate Bill 81

Deft's 3 Bates Nos. CrawfordCo 000023-000030
Deft's 4 Bates Nos. CrawfordCo 000003-000004

(COPIES OF EXHIBITS SCANNED INTO ETRANSCRIPT)

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A Yes.
Q Okay. And, also, with bookstores, you mentioned that
they would have to remodel. You no longer work at a
bookstore, correct?
A Uh-huh.
Q Or the Books-A-Million specifically that you had
mentioned?
A No.
Q So that's just your best guess about what they would

have to do?
MS. BROWNSTEIN: I object to the form of

the question. You can answer.

A Yes.

Q Okay.

A Based upon my experience in that industry and
retailing.

Q Have you spoken to anyone at Books-A-Million?
A I have not.

Q Okay. You also mentioned that you believe that

Section 1 might inhibit your ability to access certain
books, and then later on you said -- you were talking
about having to remodel and move things. Are those two
connected?

A Yes, they are connected. If, based on fear and

trying to avoid controversy, the libraries choose the

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option of moving those sections to another room or even a
locked area, then that would impede my access to those
books.

I would have to ask the librarian for access, which,
again, it -- one, I don't like having to ask the librarian
for access to books that are not wrong for me to look at,
no matter what else is in there.

People's understanding, because unfortunately there's
been a great deal of push in the community that somehow
these books are obscene and that they are going to cause
people to harm children and I have not found that to be
accurate, but that is the public perception.

Q So you would still have access to those books,

though, if things were rearranged like you were

describing?
A I hope so.
Q Okay. So I'm just trying to understand that, because

at first you said it would impede your access, but now
you've said you'd still have access to it?
A Technically I would have access. The difficulty of

that access, I do not know what it would be.

Q Okay. So it's just a guess at this point?
A Yes.
Q Okay. I also want to come back to the statement you

said that from what you've been able to tell, these books

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and materials, whatever, are not obscene, right?

A Yes.

Q So I'm not asking for your opinion about what it
means, but you have had a chance to look over Section 1, I
believe, today or in the past?

A Yes.

Q Are there any books, that you are aware of, that you
wanted to have access to, that would fall under Section 1?
A I don't know.

Q Okay. Are there any other materials you might check
out at a library that fall under Section 1?

A I don't know.

Q Okay. And would any books from bookstores that you
might want to purchase fall under Section 1?

A I don't know.

Q I'm just making sure I check all the boxes. And
other materials you might purchase from a bookstore that
would fall under Section 1?

A I don't know.

Q So as we sit here today, you're unaware of anything
that you would want to access that is regulated by Section
1?

A The problem is application by those in charge of
providing those items.

Q So it's not the law itself, it is just how that may

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be applied?
A It's both. The law exists, then people try to apply
it. So if the law didn't exist, there wouldn't be a
problem with the application.
Q Fair enough. I'm just making sure I understand. But

you just told me that there's nothing you know of that you
want to access that falls under Section 1. So I'm just
confused about how the law is a problem, as opposed to the
application. I'm just trying to figure that one out.

A The reason I do not know, is because if this is
interpreted widely, they might choose books, even classic
books, that are of a very mature subject matter, shall we
say, that I might choose to want to read at some point in
the future. You know, I don't know what I'm going to want
to read next year.

Q And when you say "they," who do you mean?

A The purchasers of such books or the library personnel
who choose such books.

Q Okay. And I think that's all I'll ask about

Section 1. I promise I'm getting close to wrapping up.

A You're fine.

Q I'd like to, very quickly, move on to Section 5,
which is the section that's certain procedures that
libraries must adopt. Are you aware of any current

requirements regarding library challenges to books that

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exist?

A Yes, under -- the library has a policy to allow
patrons to challenge a book and that policy ends with the
librarian's decision. So it is not as complicated as it
would be under this statute if the statute went into
effect.

The statute also brings in people who are not
qualified, in my opinion, to make a decision about these
books by referring it to the city directors and the quorum
court. They have limited time, and certainly for the
quorum court, it's not in their job description in any
way, shape or form, whether they have adequate education
to make those decisions, and the political implications of
the pressure that could be placed upon them to not return
a book.

I believe that's why the statute has been written
this way, because it's putting public pressure on the
elected officials. Otherwise there's no reason for it to
be that way. It's always been a judicial question. It is
a jury question whether a book is obscene or not.

This changes all of that and puts people who have far
better things to do, as far as the public's interest to
take care of, rather than completely reading any book that
the person who's challenging it does not accept the

librarian's decision.

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CERTIFICATE

STATE OF ARKANSAS
COUNTY OF FAULKNER
RE: ORAL DEPOSITION OF LETA JO CAPLINGER, ESQ.

I, Michelle R. Satterfield, CCR, a Notary Public in and
for Faulkner County, Arkansas, do hereby certify that the
transcript of the foregoing deposition accurately reflects
the testimony given; and that the foregoing was
transcribed by me, or under my supervision, on my Eclipse
computerized transcription system from my machine
shorthand notes taken at the time and place set out on the
caption hereto, the witness having been duly cautioned and
sworn, or affirmed, to tell the truth, the whole truth and
nothing but the truth.

I FURTHER CERTIFY that I am neither counsel for, related
to, nor employed by any of the parties to the action in
which this proceeding was taken; and, further that I am
not a relative or employee of any attorney or counsel
employed by the parties hereto, nor financially
interested, or otherwise, in the outcome of this action.
In accordance with the Arkansas Rules of Civil Procedure,
Rule 30(e), review of the foregoing transcript by the
witness was not requested by the deponent or any party
thereto.

GIVEN UNDER MY HAND AND SEAL OF OFFICE on this the 27th
day of December 2023.

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Michelle R. Satterfield, CCR
LS Certificate No. 570
Notary Public in and for
Faulkner County, Arkansas

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